Case 2:03-cr-20434-SH|\/| Document 80 Filed 04/21/05 Page 1 of 2 Page|D 106

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

f`l"' ,_`j¢ “\ -)
wEsTERN DIVISION “}“ ‘f‘ F"’ 5 '*
;*-`:oaa~:':' a :-: 3
;‘.LE.'“\K` t.f:. as uT.
W.D. o:-' m svzt.w=:~i::s

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03-20434-Ma

VS.

MARSHALL CHISM,
JENNIFER TUCKER,

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
De£ense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 2l, 2005 at 2:00 p.m.

The period. fronl March 25, 2005 through. May l3, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B){iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this zaldL day of April, 2005.

Mt/’WL-`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

'1|3 document entered on the docket sheet in compliance / V_
. " , r,_ /
m ama 55 and/or aqu) wach on 02 0 _.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:03-CR-20434 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

